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                         THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 DISPLAY TECHNOLOGIES, LLC,
                 Plaintiff,
           v.                                          CIVIL ACTION NO. 2:24-cv-43

 ACTIVISION PUBLISHING, INC.,
                                                       JURY TRIAL DEMANDED
                 Defendant.




                                             COMPLAINT
       Plaintiff files this complaint for patent infringement against defendant and alleges as
follows:
                                              PARTIES
       1.       Plaintiff is a Texas limited liability company with an office at 1 East Broward
Boulevard, Suite 700, Ft. Lauderdale, FL 33301.

       2.       Defendant On information and belief, Defendant Activision Publishing, Inc.
(“Defendant”) is a subsidiary of Activision Blizzard, Inc. Delaware corporation with its principal
office at 3100 Ocean Park Blvd., Santa Monica, CA 90405. Activision may be served with process
at this address and/or by the service of this Complaint on its registered agent, Corporation Services
Company, 2711 Centerville Road, Suite 400, Wilmington, DE 19808.
       3.       Defendant and its parent appear now to be owned by Microsoft, which also has
offices in Texas, including this Distirct.
       4.       On information and belief, Defendant has employees or contractors that it controls
and directs for its dedicated Call of Duty servers located at or about 13760 Noel Road, Frisco,
Texas, 75240.
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Figure 1 – Excerpts from article titled “Follow the Ping” by Joseph Swine, as last visited on
January 25, 2024, at https://www.redbull.com/gb-en/theredbulletin/frisco-gaming.

       5.     Upon information and belief, this Court has personal jurisdiction over Activision
in this action because Activision has committed acts within the Eastern District of Texas giving



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rise to this action and has established minimum contacts with this forum such that the exercise of
jurisdiction over Defendant would not offend traditional notions of fair play and substantial justice.

Defendant, directly and through subsidiaries or intermediaries (including distributors, retailers,
and others), has committed and continues to commit acts of infringement in this District by, among
other things, offering to sell and selling products and/or services that infringe the asserted patent
claims.
          6.    Upon information and belief, Defendant has transacted business in the Eastern
District of Texas and has committed acts of direct and indirect infringement in the Eastern District
of Texas.
          7.    Venue is proper in the Eastern District of Texas as to Defendant pursuant to at least
28 U.S.C. §§ 1391 and 1400.
                                           PATENT FAMILY
          8.    Display Technologies is the owner of U.S. Patent Numbers 9,300,723 (Exhibit A)
and 8,671, 195 (Exhibit C).
          9.    The ’723 Patent claims priority to a Continuation-in-Part of U.S. application Serial
No. 11/999,570, filed on Dec. 7, 2007, which is incorporated by reference in its entirety to the ’723
patent specification.
          10.   According to Google Patents, the ’723 Patent has an anticipated expiration date of
no earlier than January 8, 2029. See website page, as last visited on January 24, 2029, at
https://patents.google.com/patent/US9300723B2/en?oq=9%2c300%2c723.
          11.   The examiner performed a thorough examination that included searching in eleven
categories, including these:
                a.      “H04W4/80 Services using short range communication, e.g. near-field
                     communication [NFC], radio-frequency identification [RFID] or low energy
                     communication.”
                b.   “H04W12/086 Access security using security domains”
                c.   “H04W12/08 Access security,”


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               d. “H04M1/72412 User interfaces specially adapted for cordless or mobile
                  telephones with means for local support of applications that increase the

                  functionality by interfacing with external accessories using two-way short-
                  range wireless interfaces,”
               e. “H04M1/724098 Interfacing with an on-board device of a vehicle,”
               f. “H04L67/06 Protocols specially adapted for file transfer, e.g. file transfer
                  protocol [FTP],”
               g. “H04L65/75 Media network packet handling,”
               h. “H04L63/20 Network architectures or network communication protocols for
                  network security for managing network security; network security policies in
                  general,”
               i. “H04L63/10 Network architectures or network communication protocols for
                  network security for controlling access to devices or network resources,”
               j. “H04L63/0209 Architectural arrangements, e.g. perimeter networks or
                  demilitarized zones,”
               k. “H04B1/3822 Transceivers, i.e. devices in which transmitter and receiver form
                  a structural unit and in which at least one part is used for functions of
                  transmitting and receiving specially adapted for use in vehicles.”
       12.     The ’723 Patent is cited by large electronic suppliers, including Sony Mobile
Communications, Inc. in its publication US20160337303A1, titled “Method and system for
approving or disapproving connection requests.”


                                          COUNT I
             (INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)
       13.     Plaintiff incorporates above paragraphs herein by reference.

       14.     The ’723 Patent does not expire under January 8, 2029.




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        15.     This cause of action arises under the patent laws of the United States, Title 35

U.S.C. §§ 271, et seq.

        16.     Plaintiff is the owner by assignment of the ’723 Patent with sole rights to enforce

the ’723 Patent and sue infringers.

        17.     A copy of the ’723 Patent, titled “Enabling social interactive wireless

communications,” is attached hereto as Exhibit A.

        18.     The ’723 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

        19.     Defendant has infringed and continues to infringe Claims 22, 24, 29 and 30 of

the ’723 Patent by making, using, and/or selling its Accused Instrumentality. See Exhibit B.

        20.     Defendant’s actions complained of herein will continue unless Defendant is

 enjoined by this court.

        21.     Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

      22.      Plaintiff is in compliance with 35 U.S.C. § 287.


                                              COUNT II
              (INFRINGEMENT OF UNITED STATES PATENT NO. 8,671,195)


      23.       Plaintiff refers to and incorporates the allegations in Paragraphs above, the same

as if set forth herein.

      24.       Defendant has infringed and continues to infringe, claims 1, 7, 9, 17 and 19 of

the ’195 Patent in violation of 35 U.S.C. § 271. Upon information and belief, Defendant has

infringed and continues to infringe these claims by making, using, importing, selling, and/or


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offering for sale (as identified in the Claim Chart attached hereto as Exhibit D) the Accused

Instrumentalities.

     25.        Defendant also has and continues to directly infringe, literally or under the

doctrine of equivalents, these asserted claims of the ’195 Patent, by having its employees

internally test and use the Accused Instrumentalities.

     26.        The service of this Complaint, in conjunction with the attached Claim Chart and

references cited, constitutes actual knowledge of infringement as alleged here.

     27.        .

     28.        Plaintiff is entitled to recover damages adequate to compensate for Defendant's

infringement.

     29.        Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this Court.

     30.        The ’195 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

     31.        Defendant has committed these acts of literal infringement, or infringement under

the doctrine of equivalents of the ’195 Patent, without license or authorization.

     32.        As a result of Defendant's infringement of the ’195 Patent, injured Plaintiff has

suffered monetary damages and is entitled to a monetary judgment in an amount adequate to

compensate for Defendant's past infringement, together with interests and costs.

     33.        Plaintiff is in compliance with 35 U.S.C. § 287.

     34.        As such, Plaintiff is entitled to compensation for any continuing and/or future

infringement of the ’195 Patent up until the date that Defendant ceases its infringing activities

or until expiration projected by Google Patents to be no earlier than February 6, 2032.




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      35.        Defendant’s infringement is willful as it had knowledge of the patents through its

Freedom to Operate analysis performed on information and belief, and via this lawsuit.


                                   DEMAND FOR JURY TRIAL
          36.    Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by
jury of any issues so triable by right.
                                       PRAYER FOR RELIEF
          WHEREFORE, Plaintiff asks the Court to:
          (a)    Enter judgment for Plaintiff on this Complaint on all cases of action asserted
herein;
          (b)    Enter an Order enjoining Defendant, its agents, officers, servants, employees,
attorneys, and all persons in active concert or participation with Defendant who receives notice of
the order from further infringement of Patents (or, in the alternative, awarding Plaintiff running
royalty from the time judgment going forward);
          (c)    Award Plaintiff damages resulting from Defendants infringement in accordance

with 35 U.S.C. § 284; et al.
          (d) Award Plaintiff such further relief to which the Court finds Plaintiff entitled under law
or equity.




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Dated: January 24, 2024                 Respectfully Submitted,

                                        /s/ Randall T. Garteiser
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